                 United States Court of Appeals
                              FIFTH CIRCUIT
                           OFFICE OF THE CLERK
LYLE W. CAYCE                                            TEL. 504-310-7700
CLERK                                                 600 S. MAESTRI PLACE,
                                                              Suite 115
                                                     NEW ORLEANS, LA 70130

                         August 23, 2024


      No. 24-50135   TX Tribune v. Caldwell County
                     USDC No. 1:23-CV-910



The above referenced case has been scheduled for oral argument
on 10/08/2024. It will be held in New Orleans -   East Courtroom
at 9:00. The Oral Argument session number is 11.
Arguing counsel is responsible for electronically filing the
Oral Argument Acknowledgment Form by no later than 9-16-24. To
submit your form, log in to CM/ECF and select the event ‘Oral
Argument Acknowledgment Form Filed.’ Please include your session
number when completing the Oral Argument Acknowledgment Form.
IMPORTANT: Please confer with all counsel on your side regarding
the order and division of time before submitting the form. This
step is critical to ensure you are providing the court with
accurate information. The court will not allow any changes
except in emergency situations.
The Oral Argument Acknowledgment Form is available on our
website at https://www.ca5.uscourts.gov/oral-argument-
information/attending-oral-arguments. Also available on this
page are links to the ‘Court and Special Hearings Calendar’ and
‘Court Policy on Electronic Devices’.
If you have not electronically filed a "Form for Appearance of
Counsel," you must do so before filing the Oral Argument
Acknowledgment Form. You must name each party you represent,
See Fed. R. App. P. and 5th Cir. R. 12. The form is available
at https://www.ca5.uscourts.gov/appearanceform. Attorneys
appointed under the Criminal Justice Act are exempt from the
requirement to file a Form for Appearance of Counsel.
To ensure that we can provide all pertinent materials to the
court before argument, we must receive any additional filings in
this office by noon on the workday immediately preceding the day
your case is scheduled for argument. Exceptions will be made for
emergencies only.
Notice to Court Appointed Counsel: Please review for information
on CJA travel at https://www.ca5.uscourts.gov/oral-argument-
information/attorney-information/cja-travel-information.
All questions regarding the scheduling and argument of this case
should be directed to the assigned courtroom deputy, Pam Trice
at 504-310-7633.

                            Sincerely,
                            LYLE W. CAYCE, Clerk
                            By: ________________
                            Pamela F. Trice, Calendar Clerk
                            504-310-7633
    Ms. Julie Anne Ford
    Ms. Camilla Hsu
    Mr. Jason Eric Magee
    Mr. Scott B. Wilkens
